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                                                        May 12, 2021

BY ECF

The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

       RE:    United States v. Michael Avenatti,
              19 Cr. 374 (JMF)

Dear Judge Furman:

       We write in response to the Court’s order dated May 11, 2021 (Dkt. No. 124)
directing the defense to file “the first page of Exhibit C and the entirety of Exhibit F [to
Michael Avenatti’s omnibus motion], with the redactions proposed by the Government,
on ECF.” Enclosed, please find the redacted exhibits.

                                                        Respectfully Submitted,

                                                                     /s/
                                                        Robert M. Baum, Esq.
                                                        Tamara L. Giwa, Esq.
                                                        Andrew J. Dalack, Esq.
                                                        Assistant Federal Defenders

                                                        Counsel for Michael Avenatti

Cc:    Government Counsel
